                Case:
ILND 450 (Rev. 10/13)    1:22-cv-04627
                      Judgment in a Civil Action   Document #: 25 Filed: 01/25/23 Page 1 of 1 PageID #:248

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

    Zachary Corn,

    Plaintiff(s),
                                                                     Case No. 22 CV 4627
    v.                                                               Judge John Robert Blakey

    Home Depot Inc.,

    Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).

                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).

               other: This Court finds that Defendant has failed to satisfy the jurisdictional requirements of
either the Magnusson-Moss Warranty Act or the Class Action Fairness Act. The Court thus grants Plaintiff's
motion to remand and directs the Clerk to remand this case forthwith to the Circuit Court of Cook County. Civil
case terminated.

This action was (check one):

         tried by a jury with Judge      presiding, and the jury has rendered a verdict.
         tried by Judge      without a jury and the above decision was reached.
         decided by Judge John Robert Blakey on a motion.



Date: 1/25/2023                                                  Thomas G. Bruton, Clerk of Court

                                                                 G. Lewis , Deputy Clerk
